Case 2:05-cr-20CCZBD-THE| UGOIBDeBHQH'EEi|eItQWR§D£OB d?mg€l‘l of 2 Page|D 110
FOR 'I'HE WES'I‘ERN DIS'I‘RICT OF TENNESSEE

 

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size hall D.C.
UNITED sTATEs or march 05 JUL 20 AHH= 26
v. No. 05_.20@‘50|,;.`…\

 

jimeth FGYY€S+

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY U`NDER TI'IE SPEED'Y TRIAL ACT

 

The Defendant's counsel has notified the Court that in the
interests of justice that this matter be continued. Pursuant to
the Speedy Trial Act, as set in 18 U.S.C. §316l(h)(8)(A),
defendant’s period of excludable delay may be granted.if the ends

of justice are served.

The Arraignment is therefore continued and reset to Wednesda.y,

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€&ZH'<)§ 623/adm in Courtroomj't£?'?) , Federa.l Building, 167

N. Main Street, Memphis, Tenneseee.
It is therefore ORDERED that the time period of 7'20“€>5

through, Q'Z'Z>~O§ be excluded from the time its imposed by

the Speedy Trial Act for trial of this case, due to the interests

of justice.

'l‘his £0+" day of July, 2005.
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Diane K.'Vescovo
UNITED S'I‘ATES MAGISTRATE JUDGE

This document entered on the docket sheet' m com |fance
with Ru|e 55 end/ors.?(b ) FHCrP on 2 "@ § ' QO

 

ISTRIC COURT - WEERST DISTRICT TENNESSEE

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.1 uly 20, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

